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                             8                            UNITED STATES DISTRICT COURT
                             9                          CENTRAL DISTRICT OF CALIFORNIA
                        10
                        11       UNIVERSAL DYEING & PRINTING,                     Case No. 2:17-cv-03879-DDP (MRWx)
                                 INC.,
                        12                                                        DEFENDANT’S NOTICE OF
                                                 Plaintiff,                       FILING PROPOSED FINDINGS
                        13                                                        OF FACT AND CONCLUSIONS
                                          vs.                                     OF LAW
                        14
                                 TOPSON DOWNS OF CALIFORNIA,
                        15       INC.,                                             Hon. Dean D. Pregerson.

                        16                       Defendant.

                        17
                        18       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                        19
                                          PLEASE TAKE NOTICE that Defendant Topson Downs of California, Inc.
                       20
                                 hereby files its Proposed Findings of Fact and Conclusions of Law.
                       21
                       22 DATED: January 23, 2019                        BUCHALTER
                                                                         A Professional Corporation
                       23
                       24                                                By:        /s/ Matthew L Seror___________
                                                                               MATTHEW L. SEROR
                       25                                                Attorneys for Defendant
                                                                         TOPSON DOWNS OF CALIFORNIA, INC.
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      BUCHALTER
A Professional Corporation       NOTICE OF FILING PROPOSED FINDINGS OF FACT AND
       i.os Angei.es
                                 CONCLUSIONS OF LAW
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